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          MUNICIPAL ORDINANCES
                             OF    THE


                   CITY OF                   TROY



                                1905




                    RULES AND REGULATIONS
                                  of the


                      HEALTH DEPARTMENT


                    RULES    AND REGULATIONS
                          With Reference   to the

                         WATER WORKS
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                                                            Miscellaneous                                                        425



             · AN ORDINANCE REGULATING                                           THE CARRYING OF LOADED
                   FIREARMS AND OTHER DANGEROUS WEAPONS                                                                 IN      THE
                   City of Troy .
                                                                                       Passed          May 4 , 1905 .

               The City of Troy                       in    Comon Council                            convened          , ordains
                   as follows:

                   SECTION              1 .      Any        person , other than                           a    peace     officer ,
              who shall in any public street , highway or place within
              the City of Troy , have or carry concealed upon his per
                 son




                                                                                      or
                  any loaded pistol revolver




                                                                                                                          or
                                                  other firearm   any
                                                       ,


                                                                             ,




                                                                                                                   ,
                                    billy
                                                                           or


              slungshot                                dagger dirk stilletto




                                                                                                                                  or
                                                   sand club
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                                                                                a
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              dangerous knife           without theretofore having been author
                                               ,




                                                                                                                                  be
                              hereinafter provided      carry the same shall
                         as




              ized
                                                                                to




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              guilty              misdemeanor punishable by         fine not ex
                              of




                                                                    ,
                                   a




                                                                                                      by a




                                                                                                                             .
                                                                                               or


              ceeding one hundred and fifty dollars    imprisonment
                   penitentiary   county jail for not more than one
                                                      or
              in
                   a




                                                                            by




                                              fifty   days
                                                                      or




              lzundred           and                                             both
                                                                ,




                                                                                       .




                              Any person
                                                                            as




                                                           except                provided                     this ordinance
                                                                                                     in
                                                      ,




                                                                                                                                  or ,
                        2
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              who has occasion                                  carry             loaded         revolver              pistol
                                                      to




                                                                                                                ,
                                                                            a




                       for his protection may apply                                                  the commissioner
                                                                                               to




              firearm
                                                                 ,
              of




                 public safety     and such officer                                                  satisfied         that the
                                                  —




                                                                                              if
                                                                                       ,




              applicant        proper and lawabiding                                             person            shall       give
                                   is




                                                                                                               ,
                                        a




                                                                                               him




              the said person                         permit allowing                                           carry        such
                                                                                                      as to
                                                  a




                                                                                     of




              loaded firearm for such period     time    he may deem
              proper   Any non resident who does business      the City
                                                                                                                  in
                                                  -
                        .




                  Troy and has occasion    carry   loaded pistol revol
              of




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                                    while                         the said city must make applica
                         or




              ver             firearm
                                                            in
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                             permission
                                                                             to
                                                                       so
                                                                 do




              tion       for                                                         the commissioner
                                                       to




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              of lic




                                                                                        as




                                                                                                                 of




                       safety               the same manner                                   required                 residents
                                   , in




                                                                                     to is
                              ,




                                                                 be




                       said     city        and shall   subject                               the same conditions
              and restrictions
                                               .
                                       of at




                                                                                        loaded pistol
                                                                 of




                                              the time    arrest                                       revolver
                              If,




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                        3




                                                                                or or a
                   §
                        .
              or




                       firearm                 any description                            slungshot billy sand
                                                                                                              ,

                                                                                                                       , ,




                       dagger dirk                                                        dangerous knife shall
                         or




              club                                                stilletto
                                                                                ,
                                                            ,
                                                ,
                   ,
                              a




                                                                thie person            of the one arrested
                                                           on




              be found concealed                                                                                                 the
                                                                                                                             ,
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           426                                       City Ordinances .


           officer making the arrest shall state such fact to                                          the
           Magistrate before whom the prisoner is brought ,                                            and
           shall make a separate complaint against such prisoner ,
           for violation of the provisions of this ordinance .

                 §    4  .        The    commissioner          of public safety is hereby
           authorized and                  empowered          , for reasons appearing to be
           satisfactory to him , to annul , or revoke any permission
           given under this ordinance .     Every person to whom    a
           permit shall be given as above provided , shall pay there
           fore , the sum                of two dollars          and fifty cents ; which           shall




                                                                                                        re
                                          aid


                                                be of




           be applied               in                the police pension           fund    and




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                                                                                                  a
                                                                           of by
           törn       detail shall                    made monthly             the commissioner
                      in




                                    ,




                                                                                                  of
                 public safety                       the comptroller
           of




                                                       the city      the
                                                to
                                         ,




                                                                                           ,
                                                  All persons
                              so




           amount       received and credited


                                                                                            to
                                                                  whom
                                                                      .




           such permission shall       granted are hereby declared
                                                         be




                                                                                                        to
                                                                                          or
               individually responsible for their own acts
           be




                                                                the con
                                                                               of



           sequences               that may arise from the use     loaded pistols

                                                                                                        ,
                                                                               ob
                                   or




           revolvers                   firearms carried under the permission
                             ,




                                                     ,




                                  provided
                             as




           tained                              this ordinance
                                                in




                                                                       .




                              All ordinances
                                                         or




                                                              parts                            the City
                                                                      of




                                                                                          of




                                                                      ordinances
           of $
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                     Troy                                       the provisions
                                                                                      of




                     inconsistent with                                                     this    ordi
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           nance are hereby repealed
                                                          .




                              This ordinance shall take effect                     immediately
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